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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      CV 15-04424-AG (AJWx)                                   Date   November 15, 2016
   Title         ATEN INTERNATIONAL CO. v. UNICLASS TECHNOLOGY ET AL.




   Present: The Honorable         ANDREW J. GUILFORD
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder              Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


   Proceedings:          [IN CHAMBERS] ORDER DENYING EX PARTE
                         APPLICATION TO EXTEND DISCOVERY CUTOFF

  Plaintiff ATEN International Co., Ltd. filed this patent infringement lawsuit against
  Defendants Uniclass Technology Co., Ltd. (“Uniclass”); Electronic Technology Co., Ltd. of
  Dongguan UNICLASS; Airlink 101; Phoebe Micro Inc.; Broadtech International Co., Ltd.
  d/b/a Linksey; Black Box Corporation; and Black Box Corporation of Pennsylvania. The
  parties in this case had stipulated to a modified schedule numerous times, but Plaintiff has
  now filed an ex parte application asking the Court to extend the discovery cutoff date for this
  case. Uniclass opposes this application.

  The Court DENIES Plaintiff’s ex parte application. (Dkt. No. 233.)

  1.       LEGAL STANDARDS

           1.1    Ex Parte Applications

  “[The Federal Rules of Civil Procedure] should be construed, administered, and employed by
  the court and the parties to secure the just, speedy, and inexpensive determination of every
  action and proceeding.” Fed. R. Civ. P. 1. Emergency applications can upset this fairness.
  They can be unfair to a party’s opponent, who often has little or no opportunity to respond.
  See Fuentes v. Shevin, 407 U.S. 67, 80–82 (1972) (due process requires that affected parties “are
  entitled to be heard” following “meaningful” notice, except in “extraordinary situations”).
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  They can be unfair to the Court, which must drop all its work on other cases. They can be
  unfair to other litigants, who now have to wait longer for their own justice. They can even be
  unfair to the moving party, who may shortchange itself of an opportunity to put its best
  arguments forward. In sum, emergency applications can be an obstacle to the pursuit of fair
  and excellent justice. See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 491–92
  (C.D. Cal. 1995).

  This is why emergency applications are disfavored and only granted when the moving party
  meets certain conditions. Among other things, the moving party must show that it’s “without
  fault in creating the crisis that requires ex parte relief, or that the crisis occurred as a result of
  excusable neglect.” Mission Power Eng’g Co., 883 F. Supp. at 492.

           1.2   Amending a Scheduling Order

  A court’s scheduling order sets a discovery cut-off date, a pretrial conference date, a trial
  date, and other deadlines for a case. Fed. R. Civ. P. 16(b). A court can modify a scheduling
  order for “good cause.” Fed. R. Civ. P. 16(b)(4); see Johnson v. Mammoth Recreations, Inc., 975
  F.2d 604, 608 (9th Cir. 1992).

  2.       ANALYSIS

  Plaintiff’s main purpose in asking the Court to extend the discovery deadline is so that it can
  move to compel Uniclass “to produce the source code relating to the accused products.”
  According to Plaintiff, Uniclass had previously agreed to produce this source code but then
  later refused to do so. Plaintiff states that the parties had agreed to “discuss representative
  products” before discovery had closed, but then after fact discovery closed, Uniclass “for the
  first time indicated they would not agree to representative products.” (Dkt. No. 233-1 at 2.)

  Discovery often requires motions to compel, which must be included in calculating when
  actions must be taken. Plaintiff appears to have miscalculated some steps while discovery was
  still open. Uniclass points out that “[a]t no time prior to the [discovery] cutoff did [Plaintiff]
  make a demand for source code review that was not accommodated. At no time prior to the
  cutoff did [Plaintiff] file a motion to compel source code production (or any other
  discovery).” (Dkt. No. 234 at 10.) Further, fact discovery ended in this case on July 27, 2016,
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  but Plaintiff has brought this motion in November. Thus, Plaintiff hasn’t shown that it is
  “without fault in creating the crisis that requires ex parte relief, or that the crisis occurred as a
  result of excusable neglect,” such that emergency relief is appropriate. Mission Power Eng’g Co.,
  883 F. Supp. at 492. Nor has Plaintiff shown “good cause” for amending the scheduling
  order. Fed. R. Civ. P. 16(b)(4).

  3.       DISPOSITION

  The Court DENIES Plaintiff’s ex parte application. (Dkt. No. 233.)




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